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August 2, 2022



BY ECF

Hon. Zahid N. Quraishi, U.S.D.J.
United States District Court
for the District of New Jersey
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street
Trenton, New Jersey 08608

             Re: Children’s Health Defense, Inc. v. Rutgers, No. 3:21-cv-15333 (D.N.J.)

Dear Judge Quraishi:

On behalf of Rutgers, the State University of New Jersey (“Rutgers”), as supplemental authority
in support of Rutgers’ Motion to Dismiss Plaintiffs’ First Amended Complaint (Dkt. No. 39), I
respectfully submit the attached decision of the United States Court of Appeals for the Second
Circuit in Goe v. Children’s Health Defense, __ F.4th __, No. 21-0537-cv, 2022 WL 3007919 (2d
Cir. July 29, 2022). The Second Circuit upheld New York State’s regulations that clarified and
narrowed the availability of medical exemptions to the State’s vaccination mandate for elementary
and secondary schools. Although the statutory and regulatory context of Goe is not perfectly
aligned with the vaccine mandate Children’s Health Defense (“CHD”) protests in the instant case,
the Second Circuit held that rational basis review, not strict scrutiny, applies to challenges like
those made by CHD here. See id. at *7-*8. The court also held that the State of New York had
a legitimate interest in protecting communities from serious illness and that the vaccine mandate
was reasonably related to that interest. See id. at *8-*10.


Respectfully submitted,




Jeffrey S. Jacobson
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Goe v. Zucker, --- F.4th ---- (2022)




                                                              Coxsackie-Athens School District, Albany City
                2022 WL 3007919                             School District, Kaweeda G. Adams, acting in her
  Only the Westlaw citation is currently available.          official capacity as Superintendent, Albany City
  United States Court of Appeals, Second Circuit.             School District, Michael Paolino, acting in his
                                                             official capacity as Principal, William S. Hackett
  Jane GOE, Sr., on behalf of herself and her minor         Middle School, Albany City School District; and all
 child, Jane Doe, on behalf of herself and her minor         others similarly situated, Defendants-Appellees,
   child, Jane Boe, Sr., on behalf of herself and her         Shenendehowa Central School District, Dr. L.
   minor child, John Coe, Sr., on behalf of himself          Oliver Robinson, acting in his official capacity as
 and his minor children, Jane Coe, Sr., on behalf of         Superintendent, Shenendehowa Central School
  herself and her minor children, John Foe, Sr., on          District, Sean Gnat, acting in his official capacity
 behalf of himself and his minor child, Jane Loe, on        as Principal, Koda Middle School, Shenendehowa
   behalf of herself and her medically fragile child,       Central School District, Andrew Hills, acting in his
   Jane Joe, on behalf of herself and her medically         official capacity as Principal, Arongen Elementary
        fragile child, Children’s Health Defense,            School, Shenendehowa Central School District,
                  Plaintiffs-Appellants,                                         Defendants.*
                             v.                                             Docket No. 21-0537-cv
      Howard ZUCKER, in his official capacity as                                        |
 Commissioner of Health for the State of New York,                             August Term 2021
     Elizabeth Rausch-Phung, M.D., in her official                                      |
          capacity as Director of the Bureau of                           Argued: November 9, 2021
 Immunizations at the New York State Department                                         |
  of Health, New York State Department of Health,                           Decided: July 29, 2022
      Three Village Central School District, Cheryl
       Pedisich, acting in her official capacity as        ON APPEAL FROM THE UNITED STATES DISTRICT
     Superintendent, Three Village Central School
                                                           COURT FOR THE NORTHERN DISTRICT OF NEW
     District, Corinne Keane, acting in her official
                                                           YORK (Sannes, J.)
     capacity as Principal, Paul J. Gelinas Jr. High
     School, Three Village Central School District,        Attorneys and Law Firms
 Lansing Central School District, Chris Pettograsso,
   acting in her official capacity as Superintendent,      Sujata S. Gibson, The Gibson Law Firm, PLLC, Ithaca,
 Lansing Central School District, Christine Rebera,        New York (Michael H. Sussman and Jonathan R.
 acting in her official capacity as Principal, Lansing     Goldman, Sussman and Associates, Goshen, New York,
   Middle School, Lansing Central School District,         and Mary Holland and Robert F. Kennedy, Jr., Children’s
  Lorri Whiteman, acting in her official capacity as       Health Defense, New York, New York, on the brief), for
    Principal, Lansing Elementary School, Lansing          Plaintiffs-Appellants.
   Central School District, Penfield Central School
 District, Dr. Thomas Putnam, acting in his official       Beezly J. Kiernan, Assistant Solicitor General of Counsel
     capacity as Superintendent, Penfield Central          (Barbara D. Underwood, Solicitor General, Jeffrey W.
 School District, South Huntington School District,        Lang, Deputy Solicitor General, on the brief), for Letitia
      Dr. David P. Bennardo, acting in his official        James, Attorney General of the State of New York,
    capacity as Superintendent, South Huntington           Albany, New York, for Defendants-Appellees Zucker,
 School District, Br. David Migliorino, acting in his      Rausch-Phung, and the New York State Department of
   official capacity as Principal, St. Anthony’s High      Health.
  School, South Huntington School District, Ithaca
  City School District, Dr. Luvelle Brown, acting in       Adam I. Kleinberg, Sokoloff Stern, LLP, Carle Place,
 his official capacity as Superintendent, Ithaca City      New York (Gregg T. Johnson, April J. Laws, Loraine C.
    School District, Susan Eschbach, acting in her         Jelinek, Johnson Laws, LLC, Clifton Park, New York, on
    official capacity as Principal, Beverly J. Martin      the brief), for Defendants-Appellees Three Village
    Elementary School, Ithaca City School District,        Central School District, Pedisich, Keane, South
 Coxsackie-Athens School District, Randall Squier,         Huntington School District, Bennardo, Ithaca City School
   acting in his official capacity as Superintendent,      District, Brown, Eschbach, Albany City School District,
  Coxsackie-Athens School District, Freya Mercer,          Adams, and Paolino.
       acting in her official capacity as Principal,
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Roxanne L. Tashjian (James G. Ryan, on the brief) Cullen       We then conclude, as a substantive matter, that neither the
and Dykman LLP, Garden City, New York, for                     new regulations nor the enforcement thereof violated the
Defendants-Appellees Lansing Central School District,          Due Process Clause or the Rehabilitation Act.
Pettograsso, Rebera, Whiteman, Penfield Central School         Accordingly, the district court’s judgment dismissing the
District, Putnam, Coxsackie-Athens School District,            action is AFFIRMED.3
Squier, and Mercer.

Meishin Riccardulli, Philip C. Semprevivo, Jr.,
Biedermann Hoenig Semprevivo PC, New York, New
York, for Defendant-Appellee Migliorino.                                            BACKGROUND

Before: Leval, Cabranes, and Chin, Circuit Judges.

Opinion
                                                               A. Statutory Background
                                                               *2 For more than a century, the State has required
Chin, Circuit Judge:                                           mandatory immunization for children to attend school.
                                                               See Act of Apr. 16, 1860, ch. 438, 1860 N.Y. Laws 761,
                                                               761-62. Today, all children between the ages of two
*1 Under New York State law, all children must be              months and eighteen years must be immunized against a
immunized against certain diseases to be admitted to           number of diseases to be admitted to school or to attend
school or to attend school for more than fourteen days.        school for more than fourteen days. See        N.Y. Pub.
Prior to June 2019, New York law allowed exemptions            Health Law § 2164(7)(a).4 These diseases include
from this immunization requirement for both non-medical        “poliomyelitis, mumps, measles, diphtheria, rubella,
and medical reasons. That year, following a nationwide         varicella, hepatitis B, pertussis, tetanus, and, where
measles outbreak, New York State (the “State”) repealed        applicable, Haemophilus influenzae type b (Hib),
the non-medical exemption and adopted new regulations          meningococcal disease, and pneumococcal disease.” Id.
that clarified the requirements for a medical exemption.       The fourteen-day period can be extended for students
Specifically, the State narrowed the availability of           transferring from out-of-state if they show that they are
medical exemptions to cases consistent with guidelines         seeking in good faith the required certification or other
issued by the Advisory Committee on Immunization               proof. Id.
Practices (the “ACIP” and the “ACIP Guidelines”) of the
Centers for Disease Control and Prevention (the “CDC”)1        The State has also permitted exemptions from school
or with other nationally recognized evidence-based             immunization requirements for many decades. See, e.g.,
standards of care.                                             Act of Apr. 20, 1953, ch. 879, 1953 N.Y. Laws 2141,
                                                               2289-90 (providing deferment from school immunization
Plaintiffs-appellants (“Plaintiffs”) are a national            for smallpox based on “medical reasons”) (repealed
not-for-profit children’s advocacy organization and
several parents, suing on behalf of themselves and their       1968). Until the 2019 amendments,             Section 2164
children, whose requests for medical exemptions from the       provided two statutory exemptions from its school
school immunization requirements were largely denied.          immunization requirements. See Act of Aug. 3, 1966, ch.
They       brought      this   action     below      against   994, 1966 N.Y. Laws 3331, 3333. Under the non-medical
defendants-appellees -- the New York State Department          exemption, a child was not required to be immunized if
of Health (the “Health Department”), Health Department         that child had a parent or guardian who held “genuine and
officials, local school districts, and local school district   sincere religious beliefs” against immunization.        N.Y.
officials (collectively, “Defendants”)2 -- alleging that the   Pub. Health Law § 2164(9) (repealed 2019). That changed
new regulations and the enforcement thereof violated           when the United States -- with the State as an epicenter --
their rights under the Due Process Clause of the               experienced a nationwide measles outbreak between 2018
Fourteenth Amendment and Section 504 of the                    and 2019.5 With outbreaks in the State largely
Rehabilitation Act,           29 U.S.C. § 794 (the             concentrated in communities with low immunization
“Rehabilitation Act”).                                         rates, the State legislature repealed the availability of the
                                                               non-medical exemption in June 2019. See Act of June 13,
The district court granted Defendants’ motions to dismiss.     2019, ch. 35, 2019 N.Y. Laws 153, 153-54; App’x at 108
We conclude first, as a procedural matter, that the district   (explaining that “[a]fter California repealed their
court properly applied the motion to dismiss standards.        non-medical exemptions, their vaccination rates improved

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demonstrably, particularly in schools with the lowest rates   contraindication exists. Examples of contraindications
of compliance”). Like some other states, the State now        include being severely immunocompromised, having an
only allows medical exemptions from school                    immunodeficiency disease, or suffering a severe allergic
immunization.6                                                reaction after a previous vaccine dose. The ACIP
                                                              Guidelines separately define a “precaution” as a
Under the State’s present requirements, a child may be        “condition in a recipient that might increase the risk for a
exempted from school immunization if “any”                    serious adverse reaction, might cause diagnostic
state-licensed physician “certifies that such immunization    confusion, or might compromise the ability of the vaccine
may be detrimental to [the] child’s health.”     N.Y. Pub.    to produce immunity.” Id. at 490. For precautions, the
Health Law § 2164(8). The request must “contain[ ]            ACIP Guidelines recommend deferring, in lieu of
sufficient information to identify a medical                  completely foregoing, vaccination. Examples of
contraindication to a specific immunization.” N.Y. Comp.      precautions include experiencing moderate or severe
Codes R. & Regs. tit. 10, § 66-1.3(c). School officials       acute illness or a personal or family history of seizures.7
enforce these requirements, see      N.Y. Pub. Health Law
§ 2164(7)(a), and may require additional supporting
information before granting requests for exemptions, see
N.Y. Comp. Codes R. & Regs. tit. 10, § 66-1.3(c). The
denial of a medical exemption is appealable to the            B. Factual Background
Commissioner of Education.        N.Y. Pub. Health Law §      The following facts, which are assumed to be true, are
2164(7)(b).                                                   drawn from the FAC.

*3 On August 16, 2019, Commissioner Zucker issued             Plaintiffs’ medically fragile children suffer from diseases
emergency regulations to implement the State’s                and disabilities that significantly impair their immune
legislative repeal of the non-medical exemption (the “new     systems. Some also have a family history of adverse
regulations”). In doing so, the Commissioner explained        reactions to vaccines or serious autoimmune diseases.
that these new rules would ensure that the State’s            These conditions or circumstances have either prevented
immunization requirements conformed to “national              them from being vaccinated at all, or from receiving
immunization recommendations and guidelines.” App’x           certain vaccines.
at 138.
                                                              Around the start of the 2019 school year, Plaintiffs
The new regulations were adopted on December 31, 2019.        submitted medical exemption requests, supported by their
They require the use of a medical exemption form              state-licensed physicians, seeking exemptions from all or
approved by the Health Department or the New York City        some of the school immunization requirements.8 Most of
Department of Education, completed and signed by a            Plaintiffs’ requests were denied. They were told by school
physician, certifying that “immunization may be               officials, for example, that their requests lacked sufficient
detrimental to the child’s health.” N.Y. Comp. Codes R.       detail, did not meet ACIP Guidelines criteria, or were
& Regs. tit. 10, § 66-1.3(c). A completed form must           submitted on the wrong form. In denying these requests,
provide “sufficient information to identify a medical         many school officials relied on the opinion of their school
contraindication to a specific immunization and specify[ ]    district’s physician. Director Rausch-Phung also reviewed
the length of time the immunization is medically              some of these requests and recommended their denial.
contraindicated.” Id. The new regulations also define the
phrase “[m]ay be detrimental to a child’s health,” as used    *4 Some Plaintiffs submitted unsuccessful second, and
                                                              third requests. Plaintiffs Joe and Doe appealed their
in     section 2164(8) of the New York Public Health
                                                              medical exemption denials to the Commissioner of
Law, to mean “that a physician has determined that a
                                                              Education. While Joe’s appeal was still pending when suit
child has a medical contraindication or precaution to a
                                                              was filed, the denial of Doe’s request was affirmed.
specific immunization consistent with ACIP guidance or
                                                              Plaintiff Foe’s son’s medical exemption was granted, and
other nationally recognized evidence-based standard of
                                                              he is enrolled in private school. In Plaintiff Goe’s case,
care.” Id. § 66-1.1(l).
                                                              the school district allowed her daughter to enroll in school
                                                              while her second medical exemption request was
The ACIP Guidelines define a “contraindication” as a
                                                              pending.9 The failure of certain Plaintiffs to comply with
“condition[ ] in a recipient that increases the risk for a
                                                              the new regulations resulted in their expulsion and in the
serious adverse reaction,” App’x at 489, and recommend
                                                              denial of vital school services and programming.
that a vaccine not be administered when such a

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                                                                 Plaintiffs’ constitutional rights under the Fourteenth
                                                                 Amendment. Third, we address whether the regulations
                                                                 violate Plaintiffs’ rights under the Rehabilitation Act. We
                                                                 conclude that the district court did not err in granting
C. Procedural Background                                         Defendants’ motions to dismiss.
On July 23, 2020, Plaintiffs commenced this putative
class action against Defendants, challenging the new
regulations. After Defendants moved to dismiss Plaintiffs’
complaint for failure to state a claim,10 Plaintiffs filed a
letter motion for leave to amend the complaint. Plaintiffs
included with their motion the FAC, which alleged (1)            A. The District Court’s Reliance on Documents Outside
four constitutional claims for relief based on the               the FAC
Fourteenth Amendment, including for violations of their          *5 Plaintiffs argue that the district court misapplied the
substantive due process rights, their “liberty interest in       Rule 12(b)(6) standards by relying on contested facts
parenting,” their “liberty interest in informed consent,”        contained in exhibits submitted by Defendants in support
and burdening a minor’s right to pursue an education,            of their motions to dismiss, as these were documents
App’x at 761-66; and (2) two claims for relief under the         extrinsic to the FAC. For the reasons explained below, we
Rehabilitation Act for discrimination based on the               hold that the district court properly relied on these
disability status of Plaintiffs’ children.                       documents.

The district court granted Defendants’ motions on                The district court took judicial notice of some of the
February 17, 2021. Zucker, 520 F. Supp. 3d at 273-74.            exhibits submitted by Defendants in their motions to
The district court rejected Plaintiffs’ argument that strict     dismiss and determined that some exhibits were
scrutiny applied and concluded that the new regulations          incorporated by reference into the FAC. Zucker, 520 F.
were reasonably related to the State’s public health             Supp. 3d at 228-30. Relevant on appeal, it took judicial
objectives of maintaining high vaccination rates in              notice of: (1) recent legislative history of     section 2164
schools and ensuring that medical exemptions were issued         of the New York Public Health Law, (2) the Emergency
based on evidence-based guidance. Id. at 253, 273. The           Regulations dated August 16, 2019, and (3) the Final
district court also dismissed the Rehabilitation Act claims,     Regulations adopted December 31, 2019. Id. at 229.
concluding that Plaintiffs had failed to plead plausible         Additionally, it determined that the Commissioner of
claims of disability discrimination. Id. at 272-73.              Education’s denial of Plaintiff Doe’s appeal was
Judgment was entered accordingly.                                incorporated into the FAC, or, in the alternative, it took
                                                                 judicial notice of that decision. Id. It also determined that
This appeal followed.                                            the ACIP Guidelines had been incorporated by reference
                                                                 because they were relied upon by the FAC. Id.

                                                                 Plaintiffs argue that these documents contradict facts
                                                                 alleged in the FAC; therefore, they contend, the district
                        DISCUSSION
                                                                 court’s reliance on them was improper. For instance, the
“We review de novo the denial of a motion to dismiss             FAC alleges that unvaccinated children do not present a
pursuant to Federal Rule of Civil Procedure 12(b)(6) for         significant risk to community health. See App’x at 761
failure to state a claim upon which relief can be granted.”      (alleging that “the risk to the community from” medically
                                                                 fragile children foregoing immunizations is “small
    Drimal v. Tai, 786 F.3d 219, 223 (2d Cir. 2015). “To         enough that there is no compelling reason to narrow the
survive a motion to dismiss, a complaint must contain            scope of the medical exemption or place these burdens on
sufficient factual matter, accepted as true, ‘to state a claim   it”). In contrast, the Emergency Regulations explain, for
to relief that is plausible on its face.’ ”       Ashcroft v.    instance, that “because some individuals have chosen not
Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d            to receive the [measles] vaccine and to not have their
868 (2009) (quoting        Bell Atl. Corp. v. Twombly, 550       children vaccinated, outbreaks stemming from imported
U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)).          cases have occurred and new cases continue to occur in
                                                                 multiple counties across New York State.” Id. at 427-28.
First, we consider whether the district court properly           The FAC also disputes the public health benefits of some
applied the motion to dismiss standard to the FAC.               vaccines on the school vaccine schedule, which the ACIP
Second, we determine whether the new regulations violate         Guidelines recommend.

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                                                                 state-licensed physician certifies that a child is at risk of
The district court did not err in considering the materials      serious harm or death from a vaccine. In other words, they
in question. First, as a fundamental matter, courts may          contend that because they have a “fundamental right to a
take judicial notice of legislative history. See   Territory     medical exemption” from immunization requirements in
of Alaska v. Am. Can Co., 358 U.S. 224, 226-27, 79 S.Ct.         these circumstances, the State must grant the exemption
274, 3 L.Ed.2d 257 (1959). The same is true for                  “without further review or interference” when their
administrative record filings such as the denial of Plaintiff    physicians certify the need for an exemption.
Doe’s appeal. See Kavowras v. N.Y. Times Co., 328 F.3d           Pls.-Appellants’ Br. at 2, 4. For their as applied claims,
50, 57 (2d Cir. 2003).                                           Plaintiffs allege that the individual school district
                                                                 officials’ conduct enforcing the new regulations violated
Second, a complaint is considered to include a document          their substantive due process rights.
“incorporated in it by reference,” or “where the complaint
relies heavily upon its terms and effect.”    Chambers v.
Time Warner, Inc., 282 F.3d 147, 152 (2d Cir. 2002)
(internal quotation marks omitted).
                                                                    1. Applicable Law
Third, it is true, as Plaintiffs argue, that when a court        “ ‘[T]he touchstone of due process is protection of the
relies upon extrinsic materials “considered integral to the      individual against arbitrary action of government.’ ”
complaint, it must be clear on the record that no dispute
                                                                     Leebaert v. Harrington, 332 F.3d 134, 139 (2d Cir.
exists regarding the ... accuracy of the document.”
                                                                 2003) (quoting       Cnty. of Sacramento v. Lewis, 523 U.S.
    Nicosia v. Amazon.com, Inc., 834 F.3d 220, 231 (2d
                                                                 833, 845, 118 S.Ct. 1708, 140 L.Ed.2d 1043 (1998)). To
Cir. 2016) (internal quotation marks omitted). While
                                                                 determine whether a government regulation infringes a
Plaintiffs challenge the accuracy of certain factual
                                                                 substantive due process right, we first “determine whether
findings made by the State in promulgating the
regulations (as set forth in the extrinsic materials), they      the asserted right is fundamental.”      Id. at 140 (internal
misapprehend the extent of the district court’s                  quotation marks omitted). “Rights are fundamental when
consideration of those factual findings. To the extent that      they are implicit in the concept of ordered liberty, or
the district court relied on facts from the extrinsic            deeply rooted in this Nation’s history and tradition.”
materials that were in dispute, it did not rule on the factual       Id. (internal quotation marks omitted). “When the right
accuracy of those materials; instead, it cited those             infringed is fundamental,” we apply strict scrutiny, and
materials to explain the decision-making of state                “the governmental regulation must be narrowly tailored to
authorities. See, e.g., Zucker, 520 F. Supp. 3d at 254-56;       serve a compelling state interest.”       Immediato v. Rye
cf.    Sensational Smiles, LLC v. Mullen, 793 F.3d 281,          Neck Sch. Dist., 73 F.3d 454, 460 (2d Cir. 1996) (internal
285 (2d Cir. 2015) (“[I]t is not the role of the courts to       quotation marks omitted). When a “claimed right is not
second-guess the wisdom or logic of the State’s decision         fundamental,” we apply rational basis review, and the
to credit one form of disputed evidence over another.”).         “governmental regulation need only be reasonably related
                                                                 to a legitimate state objective.”   Id. at 461.
*6 We therefore conclude that the district court properly
applied the 12(b)(6) motion standards in dismissing the          An as applied challenge “requires an analysis of the facts
FAC.                                                             of a particular case to determine whether the application
                                                                 of a statute, even one constitutional on its face, deprived
                                                                 the [plaintiff] to whom it was applied of a protected
                                                                 right.”    Field Day, LLC v. Cnty. of Suffolk, 463 F.3d
                                                                 167, 174 (2d Cir. 2006). We use the shocks the
B. Constitutional Challenges                                     conscience test to assess substantive due process
We next address Plaintiffs’ constitutional claims.               challenges to government conduct. See, e.g.,          Velez
Plaintiffs assert both facial and as applied challenges to       v. Levy, 401 F.3d 75, 93-94 (2d Cir. 2005) (explaining
the new regulations.                                             that the plaintiff must “allege governmental conduct that
                                                                 ‘is so egregious, so outrageous, that it may fairly be said
As a facial matter, Plaintiffs contend that the new              to shock the contemporary conscience’ ” (quoting
regulations are invalid because they permit school
                                                                     Lewis, 523 U.S. at 847 n.8, 118 S.Ct. 1708));     Hurd
authorities to deny a request for a medical exemption
                                                                 v. Fredenburgh, 984 F.3d 1075, 1087 (2d Cir.), cert.
from school immunization requirements even when a
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denied, ––– U.S. ––––, 142 S. Ct. 109, 211 L.Ed.2d 31             not recommend medical exemptions in conclusory fashion
(2021). Accordingly, to determine whether government              or for non-medical reasons.12
conduct infringes on a substantive due process right, we
first identify the “constitutional right at stake” or the         Second, Plaintiffs’ argument, at bottom, is that they have
“deprivation of property” interest at issue.   Kaluczky v.        a “fundamental right” to obtain a medical exemption
City of White Plains, 57 F.3d 202, 211 (2d Cir. 1995).11 If       based solely on the recommendation -- or say-so -- of a
we identify either, we then assess whether the                    child’s treating physician. But no court has ever held that
government’s alleged conduct shocks the conscience. See           there is a right to a medical exemption from immunization
                                                                  based solely on the recommendation of a physician. Nor
       Velez, 401 F.3d at 93;   Hurd, 984 F.3d at 1087.           has any court held that such a right is “implicit in the
                                                                  concept of ordered liberty, or deeply rooted in this
                                                                  Nation’s history and tradition.”     Leebaert, 332 F.3d at
                                                                  140 (internal quotation mark omitted). Indeed, in
                                                                      Jacobson v. Massachusetts, the Supreme Court
  2. Application                                                  explained that medical exemptions from mandatory
                                                                  immunization laws may be limited to cases in which it is
                                                                  “apparent or can be shown with reasonable certainty” that
                  a. The Facial Challenge
                                                                  the vaccine would be harmful.         197 U.S. 11, 39, 25
*7 Two questions are presented by the facial challenge:           S.Ct. 358, 49 L.Ed. 643 (1905) (emphasis added).
first, whether a fundamental right is implicated, such that
strict scrutiny applies, and, second, once the appropriate        Third, the issue, of course, is not whether the Plaintiffs’
level of judicial scrutiny is determined, whether the             children have a right to a medical exemption. It is whether
challenged regulations pass muster.                               they are being deprived of their right to attend school
                                                                  because of the vaccine mandates. But, as the Supreme
                                                                  Court has made clear, there is no fundamental right to an
                                                                  education. See       Plyler v. Doe, 457 U.S. 202, 223, 102
                                                                  S.Ct. 2382, 72 L.Ed.2d 786 (1982) (“Nor is education a
          i. Is a Fundamental Right Implicated?
                                                                  fundamental right.”); see also         Bryant v. N.Y. State
Plaintiffs contend that the new regulations violate their         Educ. Dep’t, 692 F.3d 202, 217 (2d Cir. 2012) (holding
right to a medical exemption from school immunization             that “[t]he right to public education is not fundamental”).13
requirements, their rights to life and liberty, and the rights    While the right to an education is an important right, it is
of their children to an education. They argue that these          not a “fundamental right” such as to require strict scrutiny
rights are fundamental, and that therefore the regulations        review.
are subject to strict scrutiny. We are not persuaded, and
we conclude that “fundamental rights” are not implicated.         *8 Finally, as we further noted in      Phillips, “no court
                                                                  appears ever to have held” that “ Jacobson requires that
First, Plaintiffs’ assertion of rights is overstated. The State
                                                                  strict scrutiny be applied to immunization mandates.”
is not forcing any child to be vaccinated against her
                                                                       775 F.3d at 542 n.5. To be sure, courts have
parents’ will. See        Phillips v. City of New York, 775
                                                                  consistently rejected substantive due process challenges to
F.3d 538, 542 n.5 (2d Cir. 2015) (per curiam) (providing
                                                                  vaccination requirements without applying strict scrutiny.
that New York’s school immunization law does not
implicate substantive due process because it does not             See, e.g.,    B.W.C. v. Williams, 990 F.3d 614, 622 (8th
compel vaccination). Rather, the new regulations continue         Cir. 2021);     Workman v. Mingo Cnty. Bd. of Educ., 419
to permit a medical exemption (as required by the statute),       F. App’x 348, 355-56 (4th Cir. 2011) (summary order);
and they clarify when an exemption is appropriate and                 Boone v. Boozman, 217 F. Supp. 2d 938, 956-57 (E.D.
specify how parents may seek an exemption. By requiring
a physician to certify that a child “has a medical                Ark. 2002); cf.           Immediato, 73 F.3d at 461
contraindication or precaution to a specific immunization         (recognizing that parents “have a liberty interest, properly
consistent with ACIP guidance or other nationally                 cognizable under the Fourteenth Amendment, in the
recognized evidence-based standard of care,” N.Y. Comp.           upbringing of their children” but rejecting the argument
Codes R. & Regs. tit. 10, § 66-1.1(l), the new regulations        that this liberty interest was a “fundamental” right and
require requests to comply with evidence-based national           holding that “rational basis review is appropriate” when a
standards for the purpose of ensuring that physicians do          “parental right” is “invoked against a state regulation”

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(internal quotation marks omitted)).                            Id.

Accordingly, we conclude that the new regulations do not        Second, both provisions are reasonably related to
implicate a fundamental right, and that therefore strict        furthering the State’s interest in protecting communities
scrutiny does not apply.14                                      against serious disease. After the legislative repeal of the
                                                                non-medical exemption, the State adopted the new
                                                                regulations to enforce its school immunization
                                                                requirements. The new regulations thus sought to conform
                                                                the State’s immunization rules to “national immunization
  ii. Are the New Regulations Reasonably Related to a           recommendations and guidelines” to curtail state-licensed
               Legitimate State Objective?                      physicians from issuing medical exemptions for
                                                                non-medical reasons. Id. at 637. There was a real concern
Instead, we apply rational basis review. The FAC’s              that with the elimination of the religious exemption,
substantive due process challenges are based principally        parents who did not want their children vaccinated would
on two provisions: (1) the new regulations’ definition of       seek a medical exemption even when such an exemption
what “[m]ay be detrimental to the child’s health,” N.Y.         was not warranted. See id. at 428 (noting that, “[i]n 2015,
Comp. Codes R. & Regs. tit. 10, § 66-1.1(l), and (2) the        the State of California removed non-medical exemptions
delegation to school officials of the authority to grant a      to school immunization requirements without taking steps
medical exemption based on the new standards,        N.Y.       to strengthen the rules governing medical exemptions,”
Pub. Health Law § 2164(7)(a). We conclude that both             and that over “the next three years, the use of [those]
provisions are reasonably related to a legitimate state         exemptions to school immunization requirements more
objective.                                                      than tripled”).

First, there clearly is a legitimate state objective for both   The statute at issue here provides that a child may be
provisions: protecting communities from serious,                exempted from immunization if any state-licensed
vaccine-preventable diseases through immunization. See          physician certifies that “immunization may be detrimental
   Phillips, 775 F.3d at 542 (noting that Supreme Court         to [the] child’s health,”      N.Y. Pub. Health Law §
recognized in        Jacobson “the State’s judgment that        2164(8), and the new regulations define that phrase,
mandatory vaccination was in the interest of the                specifying the circumstances that warrant a medical
                                                                exemption. N.Y. Comp. Codes R. & Regs. tit. 10, §
population as a whole” (citing        Jacobson, 197 U.S. at
                                                                66-1.1(l). The definition narrows the availability of this
38, 25 S.Ct. 358)); see also     Zucht v. King, 260 U.S.        exemption to medical contraindications and precautions
174, 176, 43 S.Ct. 24, 67 L.Ed. 194 (1922). Significantly,      consistent with either the ACIP Guidelines or “other
in 2018-2019, there was a measles outbreak in the State         nationally recognized evidence-based standard of care.”
that was fueled by low vaccination rates in certain             Id. In other words, exemptions are now only to be granted
communities. See App’x at 139. The Health Department            if they are consistent with evidence-based national
noted this outbreak when it proposed the new regulations:       standards of care such as, but not limited to, the ACIP
  There currently exist outbreaks of measles in New             Guidelines.15 Cf.     Rodriguez v. City of New York, 72
  York City and in the Counties of Rockland, Orange,            F.3d 1051, 1062 (2d Cir. 1995) (interpreting New York’s
  and Westchester, and cases have also been identified in       involuntary commitment statute as implicitly requiring
  the County of Sullivan. Measles is a viral disease            that a physician’s decision “be made in accordance with
  transmitted via the airborne route when a person with         the standards of the medical profession”). Plainly, the
  measles coughs or sneezes. It is one of the most              regulations seek to ensure that the risk of harm to a child
  contagious diseases known. ...                                from vaccination is genuine.

  *9 The measles vaccine is very effective and remains          We further conclude that there is a reasonable relationship
  the best protection against the disease. ...                  between the delegation of authority to school districts to
                                                                review and approve medical exemption requests and
  .... However, because some individuals have chosen not        protecting communities from serious diseases. New York
  to receive the vaccine and to not have their children         State law, as it has for decades, delegates to school
  vaccinated, outbreaks stemming from imported cases            officials the authority to grant a medical exemption from
  have occurred and new cases continue to occur in              the State’s school immunization requirements. See
  multiple counties across New York State.                          N.Y. Pub. Health Law § 2164(7)(a); N.Y. Comp.
                                                                Codes R. & Regs. tit. 10, § 66-1.3(c). The Supreme Court
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has held that states may grant school district officials        decision not to address the municipal defendants’ liability
“broad discretion” to apply and enforce health law,             under     Monell [v. Department of Social Services, 436
including mandatory immunization laws. See           Zucht,     U.S. 658, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978),] was
260 U.S. at 175-76, 43 S.Ct. 24 (rejecting argument that        entirely correct.”).
school immunization requirement was unconstitutional
because it gave local authorities discretion “to determine      *11 Accordingly, we affirm the dismissal of Plaintiffs’
when and under what circumstances the requirement shall         constitutional claims.
be enforced”). The new regulations do not undermine this
long-standing discretion or any right to a medical
exemption. Moreover, if a medical exemption is denied
by school authorities, a parent has the right to appeal the
denial to the Commissioner of Education or to seek
judicial review in state court through an Article 78            C. Rehabilitation Act Claims
proceeding.                                                     Finally, we address whether the district court properly
                                                                dismissed Plaintiffs’ Rehabilitation Act claims, which
*10 Accordingly, we agree with the district court that the      allege that the new regulations violate the Rehabilitation
new regulations and the State’s delegation of enforcement       Act by excluding Plaintiffs’ children from school because
authority to school officials are reasonably related to a       of their disabilities, that is, because they “cannot safely
legitimate state objective, and that they therefore satisfy     take one or more of the mandatory vaccines.”
rational basis review.16                                        Pls.-Appellants’ Br. at 75.

                                                                The Rehabilitation Act provides that “[n]o otherwise
                                                                qualified individual with a disability ... shall, solely by
                                                                reason of her or his disability, be excluded from the
               b. The As Applied Challenge                      participation in, be denied the benefits of, or be subjected
                                                                to discrimination under any program or activity receiving
In its decision below, the district court carefully reviewed    Federal financial assistance.”     29 U.S.C. § 794(a). As
the claims against the School District Defendants,              described in their main brief on appeal, Plaintiffs contend
including the individual school district officials, based on    that “Defendants adopted discriminatory policies which
their implementation of the new regulations. It concluded       exclude whole categories of disabled children from the
that the FAC failed to plausibly allege any substantive         protection of a medical exemption from the vaccine
due process claims against them. Zucker, 520 F. Supp. 3d        requirements.” Pls.-Appellants’ Br. at 74-75.
at 257-66.
                                                                As a threshold matter, the district court dismissed the
We agree that the FAC fails to assert plausible claims          Rehabilitation Act claims against the individual school
against any of the individual school district officials,        district officials in their individual capacity on the basis
substantially for the reasons set forth by the district court   that the Rehabilitation Act does not provide for individual
in its decision below. As the district court concluded, the
FAC did not plausibly allege an infringement of a               liability. See     Garcia v. S.U.N.Y. Health Scis. Ctr. of
constitutional right or the deprivation of a property           Brooklyn, 280 F.3d 98, 107 (2d Cir. 2001) (“[N]either
interest in education. Id. at 258. The district court also      Title II of the ADA nor § 504 of the Rehabilitation Act
correctly concluded that the FAC failed to plausibly            provides for individual capacity suits against state
allege that the individual school district officials engaged    officials.”); see also Perros v. Cnty. of Nassau, 238 F.
in conduct that was “outrageous,” “arbitrary,”                  Supp. 3d 395, 402 n.3 (E.D.N.Y. 2017) (“[I]t is
“irrational,” or “conscience shocking.” Id. at 259, 261-64,     well-established that there is no individual liability under
266 (internal quotation marks omitted).                         the ADA or the Rehabilitation Act, whether the individual
                                                                is sued in their official or individual capacity.”). Plaintiffs
Finally, as the district court correctly concluded that the     have not challenged this ruling in their briefs on appeal,
FAC failed to plausibly allege any underlying                   and thus we affirm the dismissal of the Rehabilitation Act
constitutional violations, it did not err in dismissing the     claims against the individual school district officials.17
municipal liability claims against the School District
                                                                As to the merits of the Rehabilitation Act claims,
Defendants. See       Segal v. City of New York, 459 F.3d       “[e]xclusion or discrimination may take the form of
207, 219 (2d Cir. 2006) (“Because the district court            disparate treatment, disparate impact, or failure to make a
properly found no underlying constitutional violation, its      reasonable accommodation.” B.C. v. Mount Vernon Sch.
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Dist., 837 F.3d 152, 158 (2d Cir. 2016). While Plaintiffs          Notably, in D.A.B. v. New York City Department of
continue to press all three forms of discrimination in their       Education, the district court rejected claims under, inter
briefs on appeal, they do so in a wholly conclusory                alia, the Rehabilitation Act. The parents of a child with
manner. All three forms of claims fail in any event, for           autism brought suit after they were denied a medical
the FAC fails to plausibly allege that Plaintiffs’ children        exemption for their child from mandatory vaccination
were excluded from participating in any federally-funded           based on a letter from a pediatrician attesting to a “
program or activity “solely by reason of her or his                ‘history of adverse reactions’ to vaccinations.” D.A.B. v.
disability.”   29 U.S.C. § 794(a).                                 N.Y.C. Dep’t of Educ., 45 F. Supp. 3d 400, 403, 407
                                                                   (S.D.N.Y. 2014). The New York City Department of
First, the new regulations apply to all students, and not          Education denied the request because it found “no
just to students with disabilities. See N.Y. Comp. Codes           medical basis for the exemption.” Id. at 403. The district
R. & Regs. tit. 10, § 66-1.1(b) (providing that “Child,” for       court concluded that the Rehabilitation Act claim lacked
purposes of the State’s school immunization                        merit because the plaintiffs could not show that the child
requirements, “means and includes any person between               “was excluded from school ‘solely by reason’ of his
the ages of two months and 18 years”). Thus, all students          disability.” Id. at 407 (quoting    29 U.S.C. § 794(a)). It
must comply with the new regulations, not just disabled            reasoned that school immunization requirements that
students. See       Bryant, 692 F.3d at 216 (dismissing            constitute a “more limited, generally applicable law
claims that New York law barring “aversive                         intended to limit the spread of contagious disease,” that
interventions” in education violates the Rehabilitation            allow “the possibility of exemptions,” do not discriminate
Act, noting that “[t]he regulation applies to all students,        in violation of the Rehabilitation Act. Id. We affirmed in a
regardless of disability”).                                        non-precedential summary order, concluding: “for the
                                                                   reasons well stated by the district court, no reasonable
*12 Second, the new regulations do not bar students with           juror could conclude that [the Department] discriminated
disabilities from schools because of their disabilities.           against [the child] because of his disability.” D.A.B. v.
Children who cannot be safely vaccinated because of their          N.Y.C. Dep’t of Educ., 630 F. App’x 73, 79 (2d Cir. 2015)
disability will receive a medical exemption and may                (summary order).19
attend school, so long as they can demonstrate a medical
need, based on a national evidence-based standard, for an          We therefore conclude that Plaintiffs fail to plausibly
exemption. Under the new regulations, a state-licensed             allege that they were excluded from school “solely by
physician can still certify the need for a medical                 reason of” their disabilities, and we hold that the district
exemption based on her clinical judgment, and an                   court did not err in dismissing the Rehabilitation Act
exemption will be granted if that judgment is based on             claims.
evidence (and not merely her say-so) and is consistent
with a nationally recognized evidence-based standard of
care. Again, to the extent there is a disagreement on
whether the requirements are met in any particular case,
                                                                                        CONCLUSION
parents can appeal to the Commissioner of Education and
seek judicial review in the state court system through an          *13 For the reasons set forth above, the district court’s
Article 78 proceeding.                                             judgment is AFFIRMED.
Plaintiffs’ children here were denied medical exemptions
not because of their disabilities, but because they                All Citations
admittedly failed to comply with the new procedures,
which, as we have concluded above, are reasonably                  --- F.4th ----, 2022 WL 3007919
related to furthering a legitimate state objective.18

                                                          Footnotes


*
       The Clerk of the Court is respectfully directed to amend the official caption to conform to the above.




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1
       Members of the ACIP include “health-care providers and public health officials,” including “professionals from
       academic medicine (pediatrics, family practice, and pharmacy); international (Canada), federal, and state public
       health professionals; and a member from the nongovernmental Immunization Action Coalition.” App’x at 445. The
       ACIP Guidelines were intended to help “clinicians and other health care providers who vaccinate patients in varied
       settings,” id. at 442, (1) “assess vaccine benefits and risks,” (2) “use recommended administration practices,” (3)
       “understand the most effective strategies for ensuring” high vaccination coverage in the population, and (4)
       “communicate the importance of vaccination to reduce the effects of vaccine-preventable disease,” id. at 443.



2
       Defendants fall into two groups: first, Howard Zucker (Health Department Commissioner), Elizabeth Rausch-Phung
       (Director of the Bureau of Immunizations at the Health Department), and the Health Department (collectively, the
       “State Defendants”), and, second, the school districts, including their individually named school district officials and
       David Migliorino, a principal at a private school within one of the named school districts (collectively, the “School
       District Defendants”).



3
       In addition to granting Defendants’ motions to dismiss, the district court denied Plaintiffs’ motion for leave to
       amend their complaint as futile. Doe v. Zucker, 520 F. Supp. 3d 217, 273 (N.D.N.Y. 2021). Although Plaintiffs’ notice
       of appeal states that they are appealing from, inter alia, the denial of their motion for leave to amend their
       complaint, their briefs on appeal do not address that aspect of the district court’s ruling. Moreover, the district court
       considered the merits based on Plaintiffs’ proposed First Amended Complaint (the “FAC”). Hence, the operative
       complaint is the FAC, and we need not address the district court’s denial of the motion for leave to amend.



4
          Section 2164(7)(a) provides that “[n]o principal, teacher, owner or person in charge of a school shall permit any
       child to be admitted to such school, or to attend such school, in excess of fourteen days, without the certificate
       [showing the requisite immunization] or some other acceptable evidence of the child’s immunization against [the
       specified diseases].”



5
       See Sharon Otterman, New York Confronts Its Worst Measles Outbreak in Decades, N.Y. Times (Jan. 17, 2019),
       https://www.nytimes.com/2019/01/17/nyregion/measlesoutbreak-jews-nyc.html (“In 2018, New York and New
       Jersey accounted for more than half the measles cases in the country.”); Pam Belluck & Adeel Hassan, Measles
       Outbreak Questions and Answers: Everything You Want to Know, N.Y. Times (Feb. 20, 2019),
       https://www.nytimes.com/2019/02/20/us/measles-outbreak.html (reporting, in 2019, that “[t]he United States [ ]
       experience[d] the worst measles outbreak in decades ... [with] New York ha[ving] been particularly hard hit, with
       outbreaks centered in suburban Rockland County and in Brooklyn”).



6
       See Nat’l Conf. State Legislatures, States With Religious and Philosophical Exemptions From School Immunization
       Requirements                               (May                              25,                           2022),
       https://www.ncsl.org/research/health/school-immunization-exemption-state-laws.aspx (last visited July 27, 2022).



7
       In addition, the ACIP Guidelines provide a list of conditions or circumstances that are neither a recognized
       contraindication nor a precaution, including, for example, mild acute illness, a history of penicillin allergy, or contact


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        with persons who have a chronic illness or altered immunocompetence.



8
        Some of the conditions that Plaintiffs allege form the basis of these requests include “multiple chronic and serious
        conditions,” an “acute illness” “concerning [the] meningococcal vaccine,” a “current state[ ] of vulnerable health and
        [ ] genetic analysis and family history of significant adverse vaccine reactions,” being “at substantial risk of having”
        “severe reactions” to immunization, “a flare up of [ ] acute autoimmune conditions,” an “anaphylactic reaction to [a]
        hepatitis B vaccine given at birth,” and “P.A.N.S./P.A.N.D[.]A.S.,” a form of “autoimmune encephalopathy.” App’x at
        704, 712, 715, 719, 722-23, 726, 732.



9
        Goe’s daughter was “set to graduate on July 30, 2020.” Id. at 725.



10
        The day after the State Defendants filed their motion to dismiss, Plaintiffs filed a motion for a temporary restraining
        order and preliminary injunction to enjoin application of the new regulations and to bar schools from prohibiting
        enrollment based on the regulations. The district court denied Plaintiffs’ motion. On November 13, 2020, Plaintiffs
        appealed the district court’s denial to this Court, filing a motion for emergency injunction pending appeal. This Court
        denied Plaintiffs’ motion on January 6, 2021. Plaintiffs then filed an emergency application for writ of injunction with
        the Supreme Court on January 25, 2021. The application was denied.



11
        Other circuits require the substantive due process violation of a fundamental right. See, e.g., Van Orden v. Stringer,
        937 F.3d 1162, 1167 (8th Cir. 2019) (“To prevail on an as-applied substantive due process claim, the [plaintiffs] must
        show both that the state officials’ conduct is conscience-shocking and that it violated a fundamental right of the
        [plaintiffs].” (emphasis added)).



12
        We need not decide here whether schoolchildren may have medical conditions that place them at risk of serious
        harm from a vaccine but that are not covered by the national standards. To the extent that the regulations allow the
        State to exclude a child from education notwithstanding a condition that places the child at serious risk if
        vaccinated, if the condition is not recognized by nationally accepted standards, as we conclude below, states are
        free in the interest of protecting public health to impose such standards on a rational basis.



13
        The Supreme Court has explained that

          [e]ducation, of course, is not among the rights afforded explicit protection under our Federal Constitution. Nor do
          we find any basis for saying it is implicitly so protected. As we have said, the undisputed importance of education
          will not alone cause this Court to depart from the usual standard for reviewing a State’s social and economic
          legislation.

           San Antonio Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1, 35, 93 S.Ct. 1278, 36 L.Ed.2d 16 (1973).



14
        Plaintiffs rely on   Planned Parenthood of Southeastern Pennsylvania v. Casey, 505 U.S. 833, 112 S.Ct. 2791, 120


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        L.Ed.2d 674 (1992),    Doe v. Bolton, 410 U.S. 179, 93 S.Ct. 739, 35 L.Ed.2d 201 (1973), and their progeny to argue
        that the new regulations infringe on their fundamental rights to health and life and to rely on the medical judgment
        of their treating physicians. The Supreme Court, however, recently overruled           Casey, along with  Roe v. Wade,
        410 U.S. 113, 93 S.Ct. 705, 35 L.Ed.2d 147 (1973). Dobbs v. Jackson Women’s Health Org., 597 U.S. ––––, 142 S. Ct.
        2228, ––– L.Ed.2d –––– (2022). Moreover, to the extent the cases still provide support for the propositions that a
        state cannot prevent abortions that are necessary to protect the health or life of a woman or hinder the
        independent medical judgment of a treating physician to recommend an abortion, the cases are distinguishable.
        Here, the State is not compelling Plaintiffs to vaccinate their children, but merely requiring them to be vaccinated or
        to obtain a medical exemption from the immunization mandate -- if they wish to attend a school in the State. The
        choice to vaccinate a child remains with the parent and her treating physician. For these same reasons, we also
        reject Plaintiffs’ liberty interest in parenting and liberty interest in informed consent claims.



15
        Contrary to the FAC’s allegations, this definition is not, on its face, arbitrarily narrow. For instance, as the district
        court noted, one of the permissible medical exemption forms under the new regulations references guidance
        “described in the vaccine manufacturers’ package insert.” Zucker, 520 F. Supp. 3d at 255 (internal quotation marks
        omitted); see also S. App’x at 96.



16
        We also reject Plaintiffs’ argument that the new regulations violate the unconstitutional conditions doctrine by
        conditioning receipt of a benefit -- access to education -- on the waiver of a constitutional right. The unconstitutional
        conditions doctrine provides that the government may not deny a person a benefit “on a basis that infringes his
        constitutionally protected interests.”       All. for Open Soc’y Int’l, Inc. v. U.S. Agency for Int’l Dev., 651 F.3d 218, 231
        (2d Cir. 2011), aff’d sub nom.     Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. 205, 133 S.Ct. 2321,
        186 L.Ed.2d 398 (2013) (quoting          Perry v. Sindermann, 408 U.S. 593, 597, 92 S.Ct. 2694, 33 L.Ed.2d 570 (1972),
        overruled on other grounds by          Rust v. Sullivan, 500 U.S. 173, 111 S.Ct. 1759, 114 L.Ed.2d 233 (1991)). That
        doctrine, in other words, prevents the state from granting and withholding benefits as a stick to coerce recipients of
        those benefits to engage in certain behavior where, if the state regulated that behavior directly, that regulation
        would be a constitutional violation. Here, Plaintiffs have failed to plausibly allege that in enacting the challenged
        regulations, the State has “infringe[d]” upon any “constitutionally protected right[ ].”    All. for Open Soc’y Int’l,
        Inc., 651 F.3d at 231. The State’s decision to narrow the availability of medical exemptions to cases where a “child
        has a medical contraindication or precaution to a specific immunization consistent with ACIP guidance or other
        nationally recognized evidence-based standard of care,” N.Y. Comp. Codes R. & Regs. tit. 10, § 66-1.1(l), does not
        unconstitutionally infringe upon Plaintiffs’ substantive due process rights. See Phillips, 775 F.3d at 542. The
        conditional receipt of an education on compliance with the regulation cannot, therefore, be an unconstitutional
        condition.



17
        We note also that the FAC dropped the claims against most, but not all, of the individual Defendants in their official
        capacity.



18
        As the district court concluded, while “Plaintiffs felt that their serious medical issues compelled them not to comply”
        with the State’s school immunization requirements, Plaintiffs’ “exclusion from school ultimately resulted from their
        decisions not to comply with a condition for school enrollment permissibly set by the state.” Zucker, 520 F. Supp. 3d
        at 258-59.

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19
        Plaintiffs argue that the new regulations unlawfully “narrow medical exemption criteria” and that “children with
        disabilities that fall outside of the non-exhaustive ACIP contraindications are discriminated against and denied
        benefits to which they are otherwise entitled.” Pls.-Appellants’ Reply Br. at 28. We are not persuaded. As discussed
        above, the definition of what “[m]ay be detrimental to the child’s health” is not so narrow as to preclude the use of
        non-ACIP Guideline recognized contraindications and preconditions. N.Y. Comp. Codes R. & Regs. tit. 10, § 66-1.1(l).
        The definition, on its face, recognizes medical contraindications or precautions consistent with other nationally
        recognized evidence-based standards of care. Id. Thus, a physician may still certify a medical exemption for a
        contraindication or precaution that is consistent with any nationally recognized evidence-based standard of care.




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